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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


UNITED STATES SECURITIES
AND EXCHANGE COMMISSION,
                                                  Case No. 21-cv-12193
                      Plaintiff,                  Hon.

                      v.
                                                   JURY TRIAL DEMANDED
ROBERT SAMUEL SHUMAKE, JR.,
WILLARD L. JACKSON,
NICOLE T. BIRCH,
420 REAL ESTATE, LLC,
VICENT PETRESCU
aka VINCENT PETRESCU, and
TRUCROWD, INC. dba FUNDANNA,

               Defendants.
_____________________________________/

                                   COMPLAINT

      Plaintiff, the United States Securities and Exchange Commission (“SEC”),

alleges as follows:

                               SUMMARY OF ACTION

      1.     The SEC brings this action to remedy two fraudulent crowdfunding

offerings conducted by Defendants Robert Samuel Shumake. Jr. (“Shumake”),

Willard L. Jackson (“Jackson”), and Nicole T. Birch (“Birch).




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      2.     The issuers of the securities that were fraudulently sold to members of

the public were Defendant 420 Real Estate, LLC (“420 Real Estate”) and a now

defunct company named Transatlantic Real Estate, LLC (“Transatlantic Real

Estate”).

      3.     Transatlantic Real Estate and 420 Real Estate raised funds through

offerings on a crowdfunding platform hosted by Defendant TruCrowd, Inc.

(“TruCrowd”). TruCrowd’s CEO, Defendant Vicent Petrescu, aka Vincent

Petrescu (“Petrescu”), was responsible for selecting which issuers could use

TruCrowd’s platform to conduct crowdfunding offerings. Under the SEC’s

crowdfunding regulations, Petrescu and TruCrowd served as gatekeepers and, as

such, were responsible for taking measures to reduce the risk of fraud.

      4.     Shumake and Birch offered and sold securities of Transatlantic Real

Estate from September 2018 through May 2019. Shumake and Jackson offered

and sold securities of 420 Real Estate from May 2019 through June 2020.

      5.     Shumake was the driving force behind the both offerings, but he kept

his participation secret in order to hide a past criminal conviction arising from a

mortgage fraud scheme. Shumake convinced Birch to act as the chief executive

officer and sole member of Transatlantic Real Estate and convinced Jackson to act

in the same roles for 420 Real Estate.




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      6.     Shumake, along with Birch and Jackson, marketed both offerings as

opportunities for investors to share in bountiful profits from the cannabis industry,

by acquiring real estate and leasing it to companies engaged in the business of

growing cannabis.

      7.     Shumake, Birch, and Jackson made multiple false and misleading

representations and omissions to investors in connection with the crowdfunding

offerings. Among other things, they concealed Shumake’s past criminal history

and his leading role in both offerings. And to make matters worse, they diverted

hundreds of thousands of dollars from the offering proceeds for their personal

benefit. None of the money raised in either offering was used to acquire or

improve cannabis real estate. None of the investors in either crowdfunding

offering has received any return on their investment, and few investors have

recovered any of the funds they invested.

                         JURISDICTION AND VENUE

      8.     The Court has jurisdiction over this action pursuant to Sections 20(b)

and 22(a) of the Securities Act of 1933 (“Securities Act”) [15 U.S.C. §§ 77t(b) and

77v(a)], and Sections 21(d) and 27(a) of the Securities Exchange Act of 1934

(“Exchange Act”) [15 U.S.C. §§78u(d) and 78aa(a)].

      9.     Venue is proper in this judicial district pursuant to Section 22(a) of the

Securities Act [15 U.S.C. § 77v(a)] and Section 27(a) of the Exchange Act [15


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U.S.C. § 78aa(a)], because many of the acts, transactions and courses of business

constituting the violations alleged in this Complaint occurred within the

jurisdiction of this district.

       10.    In connection with the conduct alleged in this Complaint, the

Defendants, directly and indirectly, have made use of the mails and/or means or

instrumentalities of transportation or communication in interstate commerce.

                                  DEFENDANTS

       11.    Robert S. Shumake, age 53, resides in Bloomfield Hills. In

December 2017, Shumake pled guilty to two misdemeanor violations of the

Michigan Credit Services Protection Act, and on behalf of his business, to two

felony counts of obtaining money by false pretense, for improperly taking upfront

fees for mortgage audit services that he promised, but failed to deliver (People v.

Shumake, et al., Mich. 46th Jud. Dist. (Feb. 15, 2017)). The presiding court

sentenced Shumake to a probationary period of 18 months, during which time

Shumake was forbidden to work in a position where he could have “direct control

over, or access to, another person’s money.” Shumake ignored the terms of his

probation sentence. Before his probation ended in May 2019, he conducted the

Transatlantic Real Estate offering with Birch and set in motion the 420 Real Estate

offering with Jackson. Shumake owns and controls Shumoja Media Group, LLC




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(“Shumoja”), a purported marketing services company, which received money in

connection with the crowdfunding offerings.

      12.    Willard L. Jackson, age 57, resides in Houston, Texas. Jackson

serves as the CEO and the sole director of 420 Real Estate. Jackson previously

served as a director of Bangi, Inc., described below. Jackson also held ownership

interests in WLJ Group, LLC and Ebony Media Holdings, LLC, (collectively, the

“Jackson Entities”). Jackson facilitated the payment of money from the 420 Real

Estate offering to the Jackson Entities.

      13.    Nicole T. Birch, age 46, resides in Gainesville, Georgia. Birch is a

licensed attorney in Georgia and has her own law practice, H.B. Associates P.C.

(“H.B. Associates”). Birch has served as CEO and sole director of both

Transatlantic Real Estate and Bangi, Inc. Birch facilitated the payment of money

from the Transatlantic Real Estate offering to herself and to H.B. Associates.

      14.    420 Real Estate, LLC is a Texas limited liability company formed in

April 2019 with its principal place of business in Houston, Texas. 420 Real Estate

purports to be a real estate company that specializes in the acquisition and leasing

of properties that support the hemp industry. 420 Real Estate is owned by Willard

Jackson. 420 Real Estate raised $888,180 through a crowdfunding offering

between May 2019 and June 2020 (“420 Real Estate offering”).




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      15.    TruCrowd, Inc. dba Fundanna is a Delaware corporation with its

principal place of business in Chicago, Illinois. TruCrowd is an SEC-registered

funding portal for crowdfunding offerings. TruCrowd hosted the crowdfunding

offerings for Transatlantic Real Estate and 420 Real Estate through its platform.

      16.    Vicent Petrescu, aka Vincent Petrescu, age 49, resides in

Algonquin, Illinois. Petrescu, a licensed CPA, is the founder and CEO of

TruCrowd. Petrescu granted Transatlantic Real Estate and 420 Real Estate access

to TruCrowd’s platform to conduct the crowdfunding offerings.

                              RELATED ENTITIES

      17.    Transatlantic Real Estate, LLC was a California limited liability

company formed in August 2018 with its principal place of business in Grosse

Pointe Farms. Transatlantic Real Estate purported to be a real estate company that

specialized in the acquisition and leasing of properties that support the medical

cannabis industry. Transatlantic Real Estate raised $1,020,100 through a

crowdfunding offering between September 2018 and May 2019 (“Transatlantic

Real Estate offering”). According to the offering statement for the Transatlantic

Real Estate offering, Birch was the one hundred percent owner, CEO, chairman,

and sole director of the company. On July 9, 2021, Transatlantic Real Estate filed

a Certificate of Cancellation with the California Secretary of State, which

terminated its status as a limited liability company.


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      18.      Bangi, Inc. (“Bangi”) is a Nevada corporation with its principal place

of business in Grosse Pointe Farms. Bangi is a publicly traded company that

purports to specialize in the acquisition and leasing of properties that support the

cannabis industry. Bangi’s common stock trades in the over-the-counter market

under the symbol “BNGI.” According to Bangi’s most recent SEC filing, Birch is

the CEO of Bangi.

                                        FACTS

    Shumake Explores Various Means to Raise Money through Securities

                                       Offerings

      19.      Following his guilty plea, but before the end of his probationary

period and the court order prohibiting him from having access to other people’s

money, Shumake began taking steps to raise money from the public to enter the

cannabis industries. Ultimately, he pursued crowdfunding offerings as a means to

raise funds.

      20.      Crowdfunding offerings are governed by the securities transaction

registration provisions of the Securities Act [17 U.S.C. §§ 77(a), et seq.] and

Regulation Crowdfunding thereunder [17 C.F.R. § 227.100, et seq.]. From 2018

through 2020—the years relevant to this Complaint—these crowdfunding

provisions allowed an unregistered offering of up to $1,070,000 through an

intermediary, in this case, a funding portal registered under Rule 400 of Regulation


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Crowdfunding. Issuers could offer and sell their securities through the

intermediary’s platform on the internet. Prior to the start of the crowdfunding

offering, the issuer was required to file with the SEC a “Form C,” and disclose

certain information about the issuer and the offering through the Form C and

offering statement. For instance, issuers relying on the crowdfunding registration

exemption were required to disclose, among other information, the names of all the

issuer’s officers, directors, and persons occupying a similar status or performing a

similar function; the purpose and intended use of the offering proceeds; related-

party transactions with the issuer’s officers and promoters that are, in the

aggregate, in excess of five percent of the aggregate capital that the issuer seeks to

raise; and any material information necessary in order to make the statements made

not misleading, in light of the circumstances under which they were made.

Regulation Crowdfunding also requires that the funding portal post the offering

statement for each issuer on its internet platform so that all prospective investors

have access to the same information relating to the issuer’s offering.

      21.    In September 2018, Shumake enlisted Birch, an attorney with whom

he was in a personal relationship, to form Transatlantic Real Estate, with Birch

holding the positions of CEO and sole member. Shumake also convinced Birch to

raise funds through a crowdfunding offering and to hide Shumake’s involvement.




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      22.    Transatlantic Real Estate’s mailing address was a UPS store in Grosse

Pointe Farms, near where Shumake lived, rather than in Georgia where Birch lived.

      23.    Shumake set up Bangi in November 2018, while he was working with

Birch to conduct the Transatlantic Real Estate crowdfunding offering. Bangi’s

address at the time was the same UPS store in Grosse Pointe Farms that

Transatlantic Real Estate used.

      24.    According to its website, Bangi “acquires specialized assets including

hemp and cannabis farms, dispensaries, commercial real estate, industrial real

estate, and leases real estate to the multi-billion dollar and growing cannabis

industry.”

      25.    Shumake regularly attended and participated in Bangi Board

meetings, gave direction to the company’s officers and directors, and conducted

business on behalf of Bangi. Board minutes identify Shumake as the founder of

Bangi. Bangi Directors and Shumake discussed his criminal history and its

potential impact on prospective investors. Despite his involvement in the affairs of

Bangi, Shumake elected not to serve as an officer or director of the company. Nor

was he listed on Bangi’s website.

      26.    Shumake explored the possibility of Bangi conducting an offering

under SEC Regulation A+ [17 C.F.R. § 230.251, et seq.], which permitted higher




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fundraising amounts than those allowed under Regulation Crowdfunding.

Ultimately, an offering for Bangi never occurred.

      27.    In April 2019, Shumake enlisted Jackson, a friend and Bangi director,

to form 420 Real Estate, with Jackson as the CEO and sole member. Shumake

convinced Jackson to utilize 420 Real Estate as a vehicle for raising funds through

a crowdfunding offering (the “420 Real Estate offering”). Shumake also

convinced Jackson to hide Shumake’s involvement in the 420 Real Estate offering.

      28.    Shumake discussed with Jackson his plans to use money raised

through the 420 Real Estate offering to fund Bangi.

      29.    Shumake’s name was not on any of the offering documents for

Transatlantic Real Estate or 420 Real Estate. Shumake, Jackson, and Birch all

knew that the disclosure of Shumake’s criminal past could hinder fundraising.

Therefore, they concealed Shumake’s involvement, and Birch and Jackson falsely

held themselves out as the sole persons with authority over the offerings.

   The Transatlantic Real Estate Offering and Misuse of Investor Proceeds

      30.    Shumake arranged for TruCrowd to serve as the crowdfunding portal

for the Transatlantic Real Estate offering.

      31.    Birch, with Petrescu’s assistance, wrote the Transatlantic Real Estate

Form C and offering statement. Birch and Petrescu kept Shumake informed about

the drafting process by copying him on substantive email discussions about the


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offering statement. Birch, Shumake, and Petrescu also each weighed in on the

steps necessary to kick off and promote the Transatlantic Real Estate offering to

investors.

       32.   Transatlantic Real Estate filed the Form C and offering statement with

the SEC on September 12, 2018. Birch signed the Form C as the company’s sole

officer.

       33.   The Form C and offering statement omitted any mention of

Shumake’s involvement in the company or the offering. Rather, to conceal

Shumake’s criminal record, his name did not appear on any of the documents

associated with the Transatlantic Real Estate offering. Birch falsely held herself

out as the sole person with authority over the company and the offering.

       34.   Shumake and Birch knew that disclosure of Shumake’s criminal past

could hinder fundraising.

       35.   According to the Transatlantic Real Estate offering statement, the

company was a diversified investment vehicle that acquired and leased specialized

real estate assets. Its strategy was to acquire industrial real estate that could be

used as medical cannabis cultivation facilities.

       36.   The Transatlantic Real Estate offering statement represented that the

company was offering a maximum of 10,700 convertible notes for $100 each, and

that each subscription consisted of a “15% convertible Note . . . that mature[d]


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eighteen months from the date of issuance, and, at [the] company’s option, [was]

convertible at a 10% discount into the public market.”

      37.   The Transatlantic Real Estate offering statement represented that,

after expenses, the company intended to use the offering proceeds as follows: (1)

$194,740 for marketing; (2) $97,370 for legal fees; (3) $584,220 for property

improvement; and (4) $97,370 in administrative fees.

      38.   The Transatlantic Real Estate offering statement contained several

materially false and misleading statements, including the following:

            a. Transatlantic Real Estate employed a senior management team that

                had significant experience in the real estate industry and

                sophisticated finance and capital markets expertise;

            b. Transatlantic Real Estate had contingently acquired a 9-plus acre

                property with 80,000 Square Foot Green Houses located in

                California; and

            c. Transatlantic Real Estate would use $584,220 of the proceeds for

                “property improvement.”

            d. Transatlantic Real Estate was not a party to any proposed

                transaction with an officer, director or promoter of which such

                party would receive in excess of 5% of the aggregate amount of

                capital Transatlantic Real Estate intended to raise in the offering.


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             e. Transatlantic Real Estate only had one individual who was the

                company’s officer, director, or “person occupying similar status or

                performing a similar function.”

      39.    All of these statements were false and misleading.

      40.    Transatlantic Real Estate never acquired any real estate and did not

use any of the offering proceeds to purchase or improve any property.

      41.    As for the management of Transatlantic Real Estate, Birch had no

experience in the real estate industry or sophisticated finance and capital markets

expertise and did not employ any individuals, let alone a “team” with such

experience on behalf of Transatlantic Real Estate.

      42.    The offering statement failed to disclose either Shumake’s criminal

record or that he would be actively involved in raising funds from investors and

managing the company.

      43.    Shumake co-managed Transatlantic Real Estate with Birch and was

extensively involved in the company’s strategic decisions. For instance, Shumake:

             a. directed communications with current and prospective investors;

             b. lined up a transfer agent for Transatlantic Real Estate;

             c. helped prepare documents and promote the offering;

             d. solicited Transatlantic Real Estate advertisements from third

                parties and drafted advertising scripts for social media; and


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             e. gave directions to Birch as to the disbursement of investor money

                from Transatlantic Real Estate’s bank account.

      44.    From September 2018 through May 2019, Transatlantic Real Estate

raised $1,020,100 from approximately 2,000 investors in multiple states through

TruCrowd’s platform. The convertible notes that Transatlantic Real Estate offered

and sold to the investing public through TruCrowd were securities.

      45.    Birch and Shumake diverted the investors’ money for purposes

unrelated to Transatlantic Real Estate, including hundreds of thousands of dollars

transferred to Birch and her entity, H.B. Associates, and to Shumake and his entity,

Shumoja.

      46.    Shumake and Birch diverted $358,311–or 35% of the total offering

proceeds—to Birch and her firm, H.B. Associates.

      47.    Shumake and Birch diverted $304,709—or 30% of the total offering

proceeds—to Shumake and his company, Shumoja.

      48.    The Transatlantic Real Estate offering statement disclosed the

possibility of related party transactions, but stated those transactions would be

“consistent with the duties of the management of the Company to its shareholders.”

      49.    Birch and Shumake did not use any investor funds to buy or improve

property.




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      50.    The Transatlantic Real Estate investors have not received any

monetary return on their investment.

        The 420 Real Estate Offering and Misuse of Investor Proceeds

      51.    Shumake arranged for TruCrowd to serve as the crowdfunding portal

for the 420 Real Estate offering and put Jackson in touch with Petrescu.

      52.    Jackson knew little about crowdfunding and relied on Shumake to

take the necessary steps for 420 Real Estate to conduct its crowdfunding offering.

Shumake told Jackson, a Bangi Director, about his plan to use the proceeds raised

from the 420 Real Estate offering to fund Bangi.

      53.    While Shumake was deeply involved in arranging the offering, he

persuaded Jackson to hide Shumake’s role with 420 Real Estate because of his

criminal history.

      54.    Petrescu and others participated in the drafting of the 420 Real Estate

Form C and offering statement. Petrescu and others kept Jackson and Shumake

informed about the drafting process by copying him on substantive email

discussions about the Form C and offering statement.

      55.    420 Real Estate filed its Form C and offering statement with the SEC

on May 7, 2019. Jackson signed the Form C as the company’s sole officer.

      56.    The 420 Real Estate Form C and offering statement omitted any

mention of Shumake’s involvement in the company of the offering. Rather, to


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conceal Shumake’s criminal record, his name did not appear on any of the

documents associated with the 420 Real Estate offering. Jackson falsely held

himself out as the sole person with authority over the company and the offering.

       57.    Shumake and Jackson knew that disclosure of Shumake’s criminal

past could hinder fundraising.

       58.    According to its offering statement, 420 Real Estate is a diversified

investment vehicle that acquires and leases specialized real estate assets. Its

strategy is to acquire industrial real estate that can be used as hemp cultivation

facilities.

       59.    The 420 Real Estate offering statement represented that the company

was offering a maximum of 10,700 convertible notes for $100 each, and that “each

subscription consists of a 15% Convertible Note that mature[d] eighteen months

from the date of issuance, and at the company’s option, [was] convertible at a 10%

discount into the public market.”

       60.    The 420 Real Estate offering statement represented that, after

expenses, 420 Real Estate intended to use investor proceeds as follows: (1)

$537,450 for marketing; (2) $97,370 for legal fees; (3) $278,960 for property; and

(4) $97,370 in administrative fees.

       61.    The 420 Real Estate offering statement did not mention Bangi or any

intent to use the offering proceeds for Bangi.


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      62.   Nearly identical to the Transatlantic Real Estate offering statement,

the 420 Real Estate offering statement contained several materially false and

misleading statements, including the following:

            a. 420 Real Estate’s employed a senior management team that has

                significant experience in all aspects of the real estate industry,

                including acquisitions, dispositions, leasing, development,

                management, and finance;

            b. 420 Real Estate would use $278,960 of the proceeds for “property

                improvement;”

            c. 420 Real Estate was not a party to any proposed transaction with

                an officer, director or promoter of which such party would receive

                in excess of 5% of the aggregate amount of capital 420 Real Estate

                intended to raise in the offering; and

            d. 420 Real Estate only had one individual who was the company’s

                officer, director, or “person occupying similar status or performing

                a similar function.”

      63.   All of these statements were false and misleading.

      64.   420 Real Estate never used any offering proceeds for “property

improvement.”




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      65.   420 Real Estate did not have a senior management team—only

Jackson and Shumake. Jackson had no experience in the real estate industry.

Shumake and Jackson concealed Shumake’s criminal record and the fact that

Shumake would be actively involved in raising funds from investors and managing

the company.

      66.   Money received from investors was deposited into an account

managed by TruCrowd’s escrow agent. Rather than transferring the offering

proceeds from the escrow agent directly to 420 Real Estate, Shumake arranged for

the funds to be transferred to an account managed by an attorney he knew. The

attorney was responsible for disbursing the funds and took directions individually

from Shumake and Jackson.

      67.   Shumake co-managed 420 Real Estate with Jackson and was

extensively involved in the company’s strategic decisions. For instance, Shumake:

            a. directed communications with current and prospective investors;

            b. helped prepare documents and promote the offering;

            c. solicited advertisements from third parties and drafted advertising

                scripts for social media; and

            d. gave directions to the attorney as to the disbursement of investor

                moneys.




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      68.    From May 2019 through June 2020, 420 Real Estate raised

approximately $888,180 from the sale of convertible notes to approximately 2,000

investors in multiple states through the TruCrowd platform. The convertible notes

that 420 Real Estate offered and sold to the investing public through TruCrowd

were securities.

      69.    Pursuant to an agreement, Jackson and Shumake had to give their

joint approval for all distributions of funds from the attorney. In fact, however,

Shumake and Jackson each individually directed the attorney to distribute the

funds without the approval of the other.

      70.    Jackson and Shumake diverted the investors’ money for purposes

unrelated to 420 Real Estate, including hundreds of thousands of dollars

transferred to Shumake, Shumoja, Jackson, and the Jackson Entities.

      71.    Shumake and Jackson diverted $280,608—or 32% of the total

offering proceeds—to Jackson and the Jackson Entities.

      72.    Shumake and Jackson diverted $114,029—or 13% of the total

offering proceeds—to Shumake, Shumoja, and Bangi.

      73.    Jackson and Shumake did not use any investor funds to buy or

improve property.

      74.    The 420 Real Estate investors have not received any monetary return

on their investment.


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 Petrescu and TruCrowd Allowed the Offerings to Proceed Despite Warning

                                  Signs of Fraud

      75.    Petrescu owned and, as TruCrowd’s owner and CEO, controlled the

activities of TruCrowd.

      76.    Petrescu, acting on behalf of TruCrowd, was responsible for selecting

which issuers and individuals could use TruCrowd’s platform to conduct

crowdfunding offerings.

      77.    Petrescu, acting on behalf of TruCrowd, engaged third party escrow

agents to hold investor funds.

      78.    In exchange for its services in connection with the Transatlantic Real

Estate and 420 Real Estate crowdfunding offerings, TruCrowd received $91,679

and $48,412, respectively.

      79.    Petrescu, acting on behalf of TruCrowd, assisted issuers and their

affiliated individuals with preparing and filing Forms C and offering statements.

      80.    Petrescu, acting on behalf of TruCrowd, permitted the Transatlantic

Real Estate and 420 Real Estate offerings to proceed despite multiple warning

signs of possible fraud or other harm to investors.

      81.    Petrescu, acting on behalf of TruCrowd, worked with both Shumake

and Birch to file the Transatlantic Real Estate Form C and offering statement.




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         82.    According to Petrescu, Birch told him that she was the sole officer of

Transatlantic Real Estate and that Shumake only provided marketing services.

However, Shumake routinely coordinated with Petrescu to address non-marketing

matters for the company, such as investor communications and lining up a transfer

agent.

         83.    Petrescu did not question why the Transatlantic Real Estate offering

statement omitted any mention of Shumake’s involvement with the company and

the offering.

         84.    In November 2018, two months after the Transatlantic Real Estate

offering opened, Birch forwarded an email to Petrescu from an individual who had

provided marketing services to Birch and Shumake in connection with the

Transatlantic Real Estate offering.

         85.    This individual’s email to Birch and Shumake complained that they

owed him money for services he had performed on the offering, stated that he had

referred Transatlantic Real Estate for collections, and warned them of the potential

impact of “SEC, Bad Actor Check.”

         86.    These emails required action by Petrescu, and through him, by

TruCrowd. Regulation Crowdfunding [17 C.F.R. §§227.301(c)] requires funding

portals and their associated persons to conduct a background and securities

enforcement regulatory history check (commonly referred to as a “bad actor”


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check) on each issuer and the issuer’s officers and directors (and any persons

performing a similar function) to determine if they are subject to disqualification

from participating in crowdfunding under Rule 503 of Regulation Crowdfunding,

and to remove an offering from their platform if they become aware of information

after they have granted access that causes them to reasonably believe that the issuer

or the offering presents the potential for fraud or otherwise raises concerns about

investor protection.

      87.    Even after receiving this email, Petrescu never requested a bad actor

check or ran a background check on Shumake. If Petrescu had done so, he would

have learned of Shumake’s criminal history.

      88.    A short time later, in December 2018, while the Transatlantic Real

Estate offering was still raising funds from investors, Petrescu referred Birch and

Shumake to an experienced securities attorney, to explore the possibility of a

Regulation A offering for Bangi.

      89.    The securities attorney emailed Petrescu on December 14, 2018, after

meeting with Shumake and Birch:




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      90.   The email linked to a 2017 news article, which discussed the criminal

charges filed by the Michigan Attorney General against Shumake and his business

Mortgage Auditors of America. A few hours later, Petrescu replied:




      91.   The 2017 news article read, in part, as follows:




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             a. “[Michigan Attorney General] Schuette says Shumake was behind

                a scheme to cheat people who were trying to save their homes from

                Foreclosure.”

             b. “The attorney general’s office investigated and recommended a

                warrant for Shumake’s arrest in 2015, but Robert Shumake was in

                Africa.”

             c. “After filing for personal bankruptcy to the tune of more than $3

                million, Shumake was busy posting on Facebook about his African

                humanitarian work and even turned up on the Tanzanian TV news

                as an American investor who ran a railroad.”

             d. “[L]ast year he was caught in California with $121,000 cash in his

                trunk and large sums of marijuana. He’s got an active arrest

                warrant in that case.”

      92.    Despite admitting that he needed “to search some more,” Petrescu did

not follow up on this red flag. Instead, Petrescu allowed the Transatlantic Real

Estate offering to continue on TruCrowd’s platform.

      93.    Then, in or about April 2019, Petrescu agreed to work with Shumake

again and to host the 420 Real Estate offering on TruCrowd’s portal.




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      94.    Petrescu however, did not request a bad actor check on Shumake or

otherwise investigate Shumake’s past before agreeing to host the 420 Real Estate

offering.

      95.    The 420 Real Estate offering statement was nearly identical to the

Transatlantic Real Estate offering statement.

      96.    Nevertheless, Petrescu did not question the representations in those

documents that Jackson was the issuer’s sole officer or the omission of any

mention of Shumake’s involvement with the issuer or the offering.

      97.    During and after both the Transatlantic Real Estate offering and the

420 Real Estate offering, Petrescu, and through him TruCrowd, received a series of

investor complaints about both the Transatlantic Real Estate and the 420 Real

Estate offerings. Investors asked whether the offerings were scams. They

complained to Petrescu that the issuers were not responding to inquiries. Some

investors complained that they had not received certificates for their investments.

Others asked for the refund of their investments. All these emails should have

raised questions for Petrescu whether the offerings presented the risk of fraud or

investor harm, especially in light of the email exchanges described above.

      98.    Petrescu’s responses to the investor emails was to assure investors that

the offerings were not scams, and to represent that he had run bad actor checks.




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      99.    Petrescu forwarded some of the investor complaints to Shumake,

Jackson, and Birch.

      100. On April 16, 2020, Jackson informed Petrescu that Shumake had

acted improperly. Jackson told Petrescu that it is “very disappointing to learn that

you took direction (without my knowledge) from Robert Shumake to redirect the

approval of funds process for 420 Real Estate crowdfund. He is not a party to my

agreement with you or [TruCrowd].” In a response on the same day copying

Petrescu, Shumake stated that the 420 Real Estate offering was designed to support

Bangi, Jackson’s business, Ebony, and the “263k used by me to seed the

operation.” Yet, this email did not prompt Petrescu to question why Bangi, Ebony,

and payments to Shumake were omitted from the 420 Real Estate Form C and

offering statement.

      101. On April 16, 2020, when Petrescu received Jackson’s email, more

than $20,000 of investor funds was being held in escrow. Over the next several

weeks, approximately $20,000 in additional investor money was invested and

received into the escrow account.

      102. On June 8, 2020, Birch told Petrescu that Shumake had allowed a

third party access to non-public information related to Transatlantic Real Estate

investors, and instructed Petrescu that, going forward, he should only take




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direction from Birch. Petrescu responded that, until recently, he understood

Shumake to be a representative of Transatlantic Real Estate and Birch’s agent.

      103. Despite these red flags, Petrescu permitted the 420 Real Estate

offering to proceed on the TruCrowd platform until it stopped accepting investors

in June 2020.

      104. Petrescu continued to work with Shumake after June 2020. He

emailed Shumake about investor complaints. He also networked with Shumake in

an effort to arrange a crowdfunding offering by at least one other issuer.

                                    COUNT I
                 Violations of Section 17(a) of the Securities Act
                               [15 U.S.C. § 77q(a)]
                 (Shumake, Jackson, Birch and 420 Real Estate)

      105. Paragraphs 1 through 104 are realleged and incorporated by reference

as though fully set forth herein.

      106. By engaging in the conduct described above, Defendants Shumake,

Jackson, Birch, and 420 Real Estate, in the offer and sale of securities, by the use

of the means and instruments of transportation or communication in interstate

commerce or by use of the mails, directly or indirectly, have employed devices,

schemes and artifices to defraud; obtained money and property by means of untrue

statements of material facts and omissions to state material facts necessary in order

to make the statements made, in light of the circumstances under which they were

made, not misleading; and engaged in transactions, practices, and courses of
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business which operated or would operate as a fraud or deceit upon the purchasers

of such securities.

      107. Defendants Shumake, Jackson, Birch, and 420 Real Estate acted

knowingly, recklessly, and/or negligently, in engaging in the conduct described

above.

      108. By engaging in the conduct described above, Defendants Shumake,

Jackson, Birch, and 420 Real Estate violated Section 17(a) of the Securities Act

[15 U.S.C. § 77q(a)].

                                    COUNT II
                 Violations of Section 10(b) of the Exchange Act
                          and Exchange Act Rule 10b-5
                   [15 U.S.C. § 78j(b) and 17 C.F.R. 240.10b-5]
                 (Shumake, Jackson, Birch and 420 Real Estate)

      109. Paragraphs 1 through 10474 are realleged and incorporated by

reference.

      110. By engaging in the conduct described above, Defendants Shumake,

Jackson, Birch, and 420 Real Estate, in connection with the purchase and sale of

securities, by the use of the means and instrumentalities of interstate commerce and

by the use of the mails, directly and indirectly, employed devices, schemes and

artifices to defraud; made untrue statements of material fact and omitted to state

material facts necessary in order to make the statements made, in the light of the

circumstances under which they were made, not misleading; and engaged in acts,


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practices and courses of business which operated or would have operated as a fraud

and deceit upon purchasers and sellers and prospective purchasers and sellers of

securities.

       111. Defendants Shumake, Jackson, Birch, and 420 Real Estate acted

knowingly and/or recklessly, in engaging in the fraudulent conduct described

above.

       112. Through the foregoing, Defendants Shumake, Jackson, Birch, and 420

Real Estate violated Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and

Rule 10b-5 thereunder [17 C.F.R. 240.10b-5].

                                   COUNT III
              Violations of Section 5(a) and (c) of the Securities Act
                            [15 U.S.C. § 77e(a) and (c)]
              (Shumake and Birch as to Transatlantic Real Estate)

       113. Paragraphs 1 through 10474 are realleged and incorporated by

reference.

       114. From in or about September 2018 through in or about June 2019,

Defendants Shumake and Birch directly or indirectly, as to securities of

Transatlantic Real Estate: (a) made use of the means or instruments of

transportation or communication in interstate commerce or of the mails to sell

securities through the use or medium of a prospectus or otherwise; or carried

securities or caused such securities to be carried through the mails or in interstate

commerce, by means or instruments of transportation, for the purpose of sale or
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delivery after sale; and (b) made use of the means or instruments of transportation

or communication in interstate commerce or of the mails to offer to sell or to offer

to buy, through the use or medium of any prospectus or otherwise, securities

without a registration statement having been filed with the SEC or being in effect

as to such securities.

      115. No registration statements were filed with the SEC or were in effect in

connection with offers or sales of securities of Transatlantic Real Estate by

Defendants Shumake and Birch, and no exemption from the registration

requirements applied to Defendant Shumake’s and Birch’s sales.

      116. By engaging in the conduct described above, Defendants Shumake

and Birch violated, and unless restrained and enjoined are reasonably likely to

continue to violate Sections 5(a) and (c) of the Securities Act [15 U.S.C. §§ 77e(a)

and (c)].

                                    COUNT IV
              Violations of Section 5(a) and (c) of the Securities Act
                            [15 U.S.C. § 77e(a) and (c)]
                    (Shumake, Jackson and 420 Real Estate)

      117. Paragraphs 1 through 10474 are realleged and incorporated by

reference.

      118. From in or about July 2019 through in or about June 2020, Defendants

Shumake, Jackson and 420 Real Estate, directly or indirectly, as to securities of

Defendant 420 Real Estate: (a) made use of the means or instruments of
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transportation or communication in interstate commerce or of the mails to sell

securities through the use or medium of a prospectus or otherwise; or carried

securities or caused such securities to be carried through the mails or in interstate

commerce, by means or instruments of transportation, for the purpose of sale or

delivery after sale; and (b) made use of the means or instruments of transportation

or communication in interstate commerce or of the mails to offer to sell or to offer

to buy, through the use or medium of any prospectus or otherwise, securities

without a registration statement having been filed with the SEC or being in effect

as to such securities.

      119. No registration statements were filed with the SEC or were in effect in

connection with offers or sales of securities of Defendant 420 Real Estate by

Defendants Shumake, Jackson or 420 Real Estate, and no exemption from the

registration requirements applied to the sales by Defendant Shumake, Jackson, and

420 Real Estate.

      120. By engaging in the conduct described above, Defendants Shumake,

Jackson, and 420 Real Estate violated, and unless restrained and enjoined are

reasonably likely to continue to violate Sections 5(a) and (c) of the Securities Act

[15 U.S.C. §§ 77e(a) and (c)].

                                    COUNT V
                         Aiding and Abetting Violations of
                         Section 17(a) of the Securities Act
                                [15 U.S.C. § 77q(a)]
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                                     (Shumake)

      121. Paragraphs 1 through 74 above74104 are realleged and incorporated

by reference.

      122. As described above, Defendants Jackson and Birch, in the offer and

sale of securities, respectfully, of 420 Real Estate and Transatlantic Real Estate, by

the use of the means and instruments of transportation or communication in

interstate commerce or by use of the mails, directly or indirectly, have employed

devices, schemes and artifices to defraud; obtained money and property by means

of untrue statements of material facts and omissions to state material facts

necessary in order to make the statements made, in light of the circumstances

under which they were made, not misleading; and engaged in transactions,

practices, and courses of business which operated or would operate as a fraud or

deceit upon the purchasers of such securities.

      123. By engaging in the conduct described, Defendants Jackson and Birch

violated Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)].

      124.      Defendant Shumake knowingly and/or recklessly provided

substantial assistance to Defendants Jackson and Birch.

      125. By reason of the foregoing, Defendant Shumake aided and abetted the

violations of Section 17(a) of the Securities Act, by Defendants Jackson and Birch

and, pursuant to Section 15(b) of the Securities Act [15 U.S.C. § 77o(b)],


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Defendant Shumake is liable to the same extent as Defendants Jackson and Birch

for their violations of Section 17(a) of the Securities Act.

                                    COUNT VI
                        Aiding and Abetting Violations of
                        Section 10(b) of the Exchange Act
                          and Exchange Act Rule 10b-5
                   [15 U.S.C. § 78j(b) and 17 C.F.R. 240.10b-5]
                                    (Shumake)

      126. Paragraphs 1 through 10474 are realleged and incorporated by

reference.

      127. As described above, Defendants Jackson and Birch in connection with

the purchase and sale of securities, respectfully, of 420 Real Estate and

Transatlantic Real Estate, by the use of the means and instrumentalities of

interstate commerce and by the use of the mails, directly and indirectly, employed

devices, schemes and artifices to defraud; made untrue statements of material fact

and omitted to state material facts necessary in order to make the statements made,

in the light of the circumstances under which they were made, not misleading; and

engaged in acts, practices and courses of business which operated or would have

operated as a fraud and deceit upon purchasers and sellers and prospective

purchasers and sellers of securities.

      128. By engaging in the conduct described, Defendants Jackson and Birch

violated Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5

thereunder [17 C.F.R. 240.10b-5].
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      129. Defendant Shumake knowingly and/or recklessly provided substantial

assistance to Defendants Jackson and Birch.

      130. By reason of the foregoing, Defendant Shumake aided and abetted the

violations of Section 10(b) of the Exchange Act and Rule 10b-5 thereunder by

Defendants Jackson and Birch and, pursuant to Section 20(e) of the Exchange Act

[15 U.S.C. § 78t(e)], Defendant Shumake is liable to the same extent as Defendants

Jackson and Birch for their violations of Sections 10(b) of the Exchange Act and

Rule 10b-5 thereunder.

                                   COUNT VII
                       Aiding and Abetting Violations of
                    Sections 5(a) and (c) of the Securities Act
                           [15 U.S.C. §§ 77e(a) and (c)]
                                   (Shumake)

      131. Paragraphs 1 through 104 are realleged and incorporated by reference.

      132. As described, Defendants Jackson and Birch offered and sold

securities of, respectfully, 420 Real Estate and Transatlantic Real Estate, when no

registration statements were filed with the SEC or were in effect in connection with

offers or sales of securities of either issuer, and no exemption from the registration

requirements applied to Defendants’ sales.

      133. By engaging in the conduct described, Defendants Jackson and Birch

violated Sections 5(a) and (c) of the Securities Act [15 U.S.C. §§ 77e(a) and (c)].




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      134. Defendant Shumake knowingly and/or recklessly provided substantial

assistance to the unregistered offers and sales by Defendants Jackson and Birch.

      135. By reason of the foregoing, Defendant Shumake aided and abetted the

violations of Section 5(a) and 5(c) of the Securities Act, by Defendants Jackson

and Birch and, pursuant to Section 15(b) of the Securities Act [15 U.S.C. §

77o(b)], Defendant Shumake is liable to the same extent as Defendants Jackson

and Birch for their violations of Sections 5(a) and (c) of the Securities Act.

                                 COUNT VIII
            Violations of Section 4A(a)(5) of the Securities Act and
                          Rules 301(c)(2) Thereunder
       [15 U.S.C. § 77d–1(a)(5) and 17 C.F.R. 17 C.F.R. § 227.301(c)(2)]
                           (Petrescu and TruCrowd)

      136. Paragraphs 1 through 104 are realleged and incorporated by reference.

      137. In connection with the Transatlantic Real Estate and 420 Real Estate

crowdfunding offerings, Defendant TruCrowd was an intermediary, and Petrescu

was an associated person of an intermediary, for purposes of Section 4A of the

Securities Act [15 U.S.C. § 77d–1] and Rules 300(c)(1) and 300(c)(3) thereunder

[17 C.F.R. §§ 227.300(c)(1) and 227.300(c)(3)].

      138. As described above, Defendants Petrescu and TruCrowd allowed

Defendants access to TruCrowd’s crowdfunding platform in connection with the

Transatlantic Real Estate and 420 Real Estate crowdfunding offerings.




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      139. As described in Paragraphs 75 through 104, above, Defendants

Petrescu and TruCrowd (1) had a reasonable basis for believing that the

Transatlantic Real Estate and 420 Real Estate crowdfunding offerings presented

the potential for fraud and otherwise raised concerns about investor protection; (2)

reasonably believed, or should have reasonably believed, that they were unable to

adequately or effectively assess the risk of fraud associated with the Transatlantic

Real Estate and 420 Real Estate crowdfunding offerings; and (3) became aware of

information, after they had granted access to the TruCrowd crowdfunding platform

for the Transatlantic Real Estate and 420 Real Estate crowdfunding offerings, that

caused them to reasonably believe, or in the exercise of reasonable care should

have caused them to reasonably believe, that the Transatlantic Real Estate and 420

Real Estate crowdfunding offerings presented the potential for fraud and otherwise

raised concerns about investor protection.

      140. As described above, Defendants Petrescu and TruCrowd failed to

deny access to TruCrowd’s crowdfunding platform and failed to promptly remove

the Transatlantic Real Estate and 420 Real Estate offerings from TruCrowd’s

crowdfunding platform, cancel the offerings, and return and direct the return of any

funds that had been committed by investors in the offerings.

      141. By reason of the foregoing, Defendants TruCrowd and Petrescu have

violated, and unless restrained and enjoined are reasonably likely to continue to


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violate, Section 4A(a)(5) of the Securities Act [15 U.S.C. § 77d–1(a)(5)] and Rule

301(c)(2) thereunder [17 C.F.R. § 227.301(c)(2)].

                              RELIEF REQUESTED

      THEREFORE, the SEC requests that this Court:

                                           I.

      Permanently enjoin Defendants Shumake, Jackson, Birch, and 420 Real

Estate, their officers, agents, servants, employees, attorneys and those persons in

active concert or participation with Defendants who receive actual notice of the

order of this Court, by personal service or otherwise, and each of them from,

directly or indirectly, engaging in the transactions, acts, practices or courses of

business described above, or in conduct of similar purport and object, in violation

of Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)]; Section 10(b) of the

Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5 thereunder [17 CFR § 240.10b-

5]; and Section 5 of the Securities Act [15 U.S.C. § 77e];

                                          II.

      Permanently enjoin Defendants Petrescu and TruCrowd, their officers,

agents, servants, employees, attorneys and those persons in active concert or

participation with Defendants who receive actual notice of the order of this Court,

by personal service or otherwise, and each of them from, directly or indirectly,

engaging in the transactions, acts, practices or courses of business described above,


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or in conduct of similar purport and object, in violation of Section 4A of the

Securities Act [15 U.S.C. § 77d–1] and Rules 300(c)(1) and 300(c)(3) thereunder

[17 C.F.R. §§ 227.300(c)(1) and 227.300(c)(3)];

                                          III.

      Ordering Defendants to disgorge all ill-gotten gains and/or unjust

enrichment received directly or indirectly, with pre-judgment interest thereon, as a

result of the alleged violations, pursuant to Exchange Act Sections 21(d)(5) and

21(d)(7) [15 U.S.C. §§ 78u(d)(5) and 78u(d)(7)];

                                          IV.

      Order Defendants to pay civil penalties pursuant to Section 20(d) of the

Securities Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the Exchange Act [15

U.S.C. § 78u(d)(3)];

                                          V.

      Enter an Order, pursuant to Section 21(d)(2) of the Exchange Act [15 U.S.C.

§ 78u(d)(2)] permanently prohibiting Defendants Shumake, Jackson, and Birch

from serving as an officer or director of any issuer that has a class of securities

registered pursuant to Section 12 [15 U.S.C. § 78l] of the Exchange Act or that is

required to file reports pursuant to Section 15(d) of the Exchange Act [15 U.S.C. §

78o(d)]; and




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                                      VI.

     Grant any other relief this Court deems appropriate.




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                                 JURY DEMAND

      Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff

demands that this case be tried to a jury.


Dated: September 20, 2021        Respectfully Submitted,

                                 UNITED STATES SECURITIES
                                 AND EXCHANGE COMMISSION

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